Form ntchrg

211 West Fort Street
Detroit, MI 48226


                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Michigan

                                               Case No.: 11−44385−wsd
                                                     Chapter: 7
                                             Judge: Walter Shapero.Detroit


In Re: (NAME OF DEBTOR(S))
   Angela Sword Lewis                                         Thomas K. Lewis
   560 Meadowbrook                                            1016 Lincoln, Apt. #1
   Adrian, MI 49221                                           Bettendorf, IA 52722
Social Security No.:
   xxx−xx−3175                                                xxx−xx−5483
Employer's Tax I.D. No.:


                                                NOTICE OF HEARING



PLEASE TAKE NOTICE that a hearing will be held at U.S. Courthouse, Courtroom 1042, 231 W. Lafayette,
Detroit, MI 48226 on 6/2/11 at 09:30 AM to consider and act upon the following:

10 − As required by 11 U.S.C. Sec. 704(b)(1)(A), the United States Trustee has reviewed the materials filed by the
debtor(s). Having considered these materials in reference to the criteria set forth in 11 U.S.C. Sec. 707(b)(2)(A), and,
pursuant to 11 U.S.C. Sec. 704(b)(2), the United States Trustee has determined that:(1) the debtor's(s') case should be
presumed to be an abuse under section 707(b); and (2) the product of the debtor's currently monthly in come,
multiplied by 12, is not less than the requirements specified in section 704(b)(2)(A) or (B). As required by 11 U.S.C.
Sec. 704(b)(2) the United States Trustee shall, not later than 30 days after the date of this Statement's filing, either file
a motion to dismiss or convert under section 707(b) or file a statement setting forth the reasons the United States
Trustee does not consider such a motion to be appropriate. Debtor(s) may rebut the presumption of abuse only if
special circumstances can be demonstrated as set forth in 11 U.S.C. Sec.707(b)(2)(B). Filed by U.S. Trustee Daniel
M. McDermott. (Evans, Claretta)




Dated: 5/4/11

                                                              BY THE COURT



                                                              Katherine B. Gullo
                                                              Clerk, U.S. Bankruptcy Court

                                                              BY: Jane Murphy
                                                              Deputy Clerk




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